
Per curiam.
Ashton K. Tomlinson petitioned the State Disciplinary Board for voluntary suspension of his license to practice law for a period of two years, with the lifting of the suspension conditioned upon successful completion of a recovery program outlined in his petition. The State Disciplinary Board voted to accept the voluntary suspension for violations of Standards 61, 63 and 65 of Rule 4-102, which resulted from a complaint filed by a client when the petitioner failed to account for its funds. It is also noted here that the petitioner has repaid the client in full, and that the client requested that disciplinary proceedings be withdrawn.
Upon review, it is ordered that the action of the State Disciplinary Board be approved, and Tomlinson is accordingly suspended from the practice of law for two years, pending successful completion of the recovery program under Rules 4-104(c); 7-302 and 7-203.

All the Justices concur.

